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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  INTERNATIONAL BUSINESS                             )
  MACHINES CORPORATION,                              )
                                                     )
                         Plaintiff,                  )
                                                     )       C.A. No. 15-137-LPS
                 v.                                  )
                                                     )
  THE PRICELINE GROUP INC.,                          )
  KAYAK SOFTWARE CORPORATION,                        )
  OPENTABLE, INC., AND                               )
  PRICELINE.COM LLC,                                 )
                                                     )
                         Defendants.                 )

                                 [~]FINAL JUDGMENT

        WHEREAS on September 18, 2017, the Court entered an Order and Opinion (the,

 "September 18, 2017 Order and Opinion") (1) granting Defendants' motion for summary judgment

 ofnoninfringement of the asserted claims of U.S. Patent No. 7,072,849 (the "'849 patent") and (2)

 denying Defendants' motion for summary judgment of indefiniteness of the asserted claims of the

 '849.patent. (D.I. 523, 524.)

        WHEREAS on January 5, 2018, the Court entered an Order granting the parties' joint

 stipulation of partial dismissal of all claims in this action insofar as they relate to U.S. Patent Nos.

 5,796,967, 5,961,601, and 7,631,346.

        WHEREAS on February 1, 2018, the Court entered a Memorandum Order (the "February

 1, 2018 Order") denying IBM's motion for reconsideration of the Court's September 18, 2017

 Order and Opinion insofar as it relates to noninfringement of the asserted claims of the '849 patent

 by Defendants' mobile applications. (D.I. 559.)

        The Court hereby ENTERS, ORDERS, ADIDDGES, AND DECREES a final judgment

 as follows:
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         1. A judgment of noninfringement of the asserted claims of the '849 patent in favor of

         Defendants and against Plaintiff in light of the Court's September 18, 2017 Order and

         Opinion and the February 1, 2018 Order. (D.I. 523, 524, 559.)

         2. Defendants' remaining counterclaims and defenses insofar as they relate to the '849

         patent are dismissed without prejudice as moot.

         3. The Parties shall bear their own costs and expenses.

         This is a FINAL JUDGEMENT and may be appealed if a notice of appeal is filed within

 30 days of the date on which thi~ judgment was ordered.


 Approved as to Form and Substance:

  POTTER ANDERSON & CORROON LLP                       DRINKER BIDDLE & REATH LLP


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                                                      Inc., and Priceline.com LLC
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  Machines Corporation

  Dated: February 5, 2018
  5617686/42141


                                   £~
         IT IS SO ORDERED this _ _ day of February, 20


                                                                      norable Leonard
                                                               Chief United States District Judge




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